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                                                       April 28, 2023
Via Electronic Case Filing              Plaintiff shall file a response, not to exceed three pages,
The Honorable Lorna G. Schofield        by May 5, 2023. So Ordered.
United States District Judge
United States Courthouse
                                        Dated: May 1, 2023
40 Foley Square
                                               New York, New York
New York, New York 10007

       Re:     Raymond Basri v. Air99 LLC, et al., 23 Civ. 1170 (LGS)

Dear Judge Schofield:

        We represent defendants Richard Gordon (“Gordon”), and Air99 LLC (“Air99”; together,
“Defendants”), in the above-referenced action. Pursuant to Your Honor’s Individual Rules of
Practice III.A.1 and III.C.2, we respectfully submit this pre-motion letter to set forth the bases for
Defendants’ contemplated motion to dismiss the complaint pursuant to Fed. R. Civ. P. 12(b)(2),
based on this Court’s lack of personal jurisdiction over Defendants.

         If Defendants’ motion proceeds, Defendants propose to file their motion by May 23,
2023; opposition papers of Plaintiff Raymond Basri (“Plaintiff”), would be due on June 13,
2023; and Defendants’ reply papers would be due on June 27, 2023. In addition, Defendants
request that the Court stay discovery in this action until the motion is resolved. Plaintiff consents
to this briefing schedule and stay request.

Factual Background and the Complaint

        Air99 is a limited liability company that was formed under the laws of the State of
Colorado, and is located and operates in that state. Gordon is a resident of the State of Colorado.
Plaintiff is a resident of the State of New York. The Complaint alleges that in June 2015, “in
Newport Beach, California,” Plaintiff and Gordon agreed to enter into a general partnership
formed by an oral agreement to develop and market a respiratory mask. (Compl., ¶¶ 2, 14, 18,
69, 70). In March of 2016, Gordon, along with Plaintiff and a number of other advisors,
executed an “Intention to Form a Company” agreement (Compl., ¶¶ 34, 35, 92), in order to
memorialize their collective intention to transfer all intellectual property rights in the respiratory
mask being developed to a company to be subsequently formed (Compl., ¶ 35). In August of
2016, Gordon formed Air99 under Colorado law, with Gordon the sole managing member of the
company and all intellectual property concerning the mask owned by that entity. (Compl., ¶ 47).
Gordon subsequently offered Plaintiff and the other advisors roles on Air99’s Board of Advisors,
as well as small economic, non-voting interests in the company; while the other advisors
accepted, Plaintiff declined this offer, and never joined the company. (Compl., ¶ 49). Air99 also
filed a patent application for the mask, which lists Gordon as the sole inventor.

        In 2019, following a fallout between the parties, Gordon notified Plaintiff via e-mail that
he was terminated from his advisory role with Air99. (Compl., ¶¶ 63-64). Over three years
later, on February 10, 2023, Plaintiff filed the Complaint, which asserts seven claims, all based
on the breach of the alleged oral partnership agreement between Gordon and Plaintiff.
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             The Complaint is almost completely devoid of any allegations concerning any conduct by
      Defendants in New York, aside from a conclusory paragraph which states: “[Plaintiff] consulted
      with Gordon by telephone, text daily and often multiple times per day and in person with Gordon
      occasionally. These contacts were often three to five times per week, for hours at a time. They
      also met in person when Gordon traveled to New York.” (Compl., ¶ 111).
      Defendants’ Motion to Dismiss for Lack of Personal Jurisdiction
              On a motion made pursuant to Fed. R. Civ. P. 12(b)(2), the plaintiff bears the burden of
      establishing that a court has personal jurisdiction over a defendant. Penguin Grp. (USA) Inc. v.
      Am. Buddha, 609 F.3d 30, 34-35 (2d Cir. 2010). Courts may exercise either general or specific
      personal jurisdiction over an out-of-state defendant. See Goodyear Dunlop Tires Operations,
      S.A. v. Brown, 564 U.S. 915, 918-19 (2011). General jurisdiction “allows a court to adjudicate
      ‘any and all’ claims against a defendant, regardless of whether the claims are connected to the
      forum state.” Bonkowski v. HP Hood LLC, No. 15-CV-4956 (RRM) (PK), 2016 WL 4536868, at
      *2 (E.D.N.Y. Aug. 30, 2016) (quoting Goodyear, 564 U.S. at 919); see Brown v. Lockheed
      Martin Corp., 814 F.3d 619, 624 (2d Cir. 2016). Specific jurisdiction is “available when the
      cause of action sued upon arises out of the defendant’s activities in a state.” Id.
             In determining whether personal jurisdiction exists over an out-of-state defendant in New
      York, courts first look to New York’s long-arm statute, N.Y. Civil Practice Law and Rules
      (“CPLR”) §§ 301 and 302, and second, whether exercising jurisdiction under that statute
      comports with constitutional due process. Chloe v. Queen Bee of Beverly Hills, LLC, 616 F.3d
      158, 163-64 (2d Cir. 2010).
             First, the Complaint does not allege that general jurisdiction exists over either Air99 or
      Gordon, nor could it plausibly do so. Section 301 of the CPLR allows for jurisdiction over
      foreign corporations that are “engaged in such a continuous and systematic course of doing
      business [in New York] as to warrant a finding of its presence in this jurisdiction.” Lear v. Royal
      Caribbean Cruises Ltd., 2021 WL 1299489, at *4 (S.D.N.Y. 2021). The relevant inquiry is
      whether the corporation’s activities are “so continuous and systematic as to render it essentially
      at home in the forum State.” Daimler v. Bauman AG, 571 U.S. 117, 139 (2014) (internal
      quotation marks omitted); id., 571 U.S. at 137 (holding that for a corporate defendant, the
      paradigm forums for general jurisdiction are “the place of incorporation and principal place of
      business”) (internal quotation marks omitted). Similarly, for an individual defendant, the
      “paradigm forum for the exercise of general jurisdiction is the individual’s domicile.” Id.
      Here, Air99 was formed under Colorado law and has its principal place of business in that state,
      and therefore is not “essentially at home” in New York. See Goodyear, 564 U.S. at 924. Gordon
      is domiciled in Colorado. As such, general jurisdiction exists over neither defendant.
              Second, specific jurisdiction also does not exist over Air99 and Gordon. Specific
      jurisdiction arises under CPLR § 302(a)(1) where a plaintiff sufficiently alleges that i) “the
      defendant . . . transacted business within the state, and ii) the claim[s] asserted . . . arise[] from
      that business activity.” See Sole Resort, S.A. de C.V. v. Allure Resorts Mgmt. LLC, 450 F.3d 100,
      103 (2d Cir. 2006). The inquiry “focuses on the relationship among the defendant, the forum,
      and the litigation,” and “the defendant’s suit-related conduct must create a substantial connection
      with the forum State.” See Walden v. Fiore, 571 U.S. 277, 284 (2014); Waldman v. Palestine
      Liberation Org., 835 F.3d 317, 335 (2d Cir. 2016) (the relationship between the defendant and
      the forum must “arise out of contacts that the defendant himself creates with the forum,” and the
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      analysis looks to the defendants’ “contacts with the forum State itself, not the defendants’
      contacts with persons who reside there”).

              Under these standards, the Court lacks specific jurisdiction over both Air99 and Gordon.
      Indeed, although the Complaint alleges conclusorily that “defendants, directly, or through their
      principal, formulated, negotiated and transacted business in New York State” (Compl., ¶ 8), the
      actual allegations throughout the Complaint belie this assertion. In particular, the alleged oral
      partnership agreement between Plaintiff and Gordon was purportedly entered into in California
      in 2015. (Compl., ¶ 14). Moreover, the Intent to Form a Company agreement, the only written
      agreement that Plaintiff executed, was drafted in Colorado and provides that Colorado law
      governs the agreement. (Compl., ¶¶ 34-34). Similarly, the other events relevant to Plaintiff’s
      claims, including the formation of Air99 -- which was formed under Colorado law and has
      always operated there -- and Plaintiff’s business relationship with Gordon and that entity, all
      arose in Colorado or California, and not in New York.

               Even though Plaintiff alleges that he “consulted with Gordon by telephone, text daily and
      often multiple times per day and in person with Gordon occasionally,” and met with him in New
      York (Compl., ¶ 111), it is well-settled that such alleged communications are insufficient to
      establish specific jurisdiction. See, e.g., Maranga v. Vira, 386 F. Supp. 2d 299, 306 (S.D.N.Y.
      2005) (“New York Courts have consistently refused to sustain section 302(a)(1) jurisdiction
      solely on the basis of defendant’s communication from another locale with a party in New
      York”); see also Barrett v. Tema Development (1988), Inc., 251 Fed. Appx. 698, 700 (2d Cir.
      2007) (holding that even though the plaintiff alleged that he had “communicated with
      [defendant] from New York,” and had a “‘conversation’ with [defendant’s] principal in New
      York ‘concerning’ the contract,” these “barren allegations” were insufficient to establish a nexus
      between the communications and a breach of contract claim). Moreover, Plaintiff’s claims in
      this action primarily arise from Defendants’ breach of an alleged oral partnership agreement
      entered into in California in 2015, and the formation of Air99 and Plaintiff’s relationship with
      that entity, and as such the claims do not arise from these alleged communications or meeting
      between Gordon and Plaintiff, which did not concern the existence or terms of any purported
      partnership. Accordingly, specific jurisdiction does not exist under CPLR § 302(a)(1).

              In addition, personal jurisdiction does not exist over Defendants under CPLR § 302(a)(3),
      which provides for jurisdiction over a defendant that “commits a tortious act without the state
      causing injury to person or property within the state . . . .” However, neither Plaintiff’s residence
      in New York, nor the fact that he alleges his injury occurred here (Compl. ¶ 8), are sufficient to
      establish specific jurisdiction. It is well established that the plaintiff “cannot be the only link
      between the defendant and the forum,” and “the occurrence of financial consequences in New
      York due to the fortuitous location of plaintiff[] in New York is not a sufficient basis for
      jurisdiction under [CPLR § 302(a)(3)] where the underlying events took place outside New
      York.” New Markets Partners LLC v. Oppenheim, 638 F.Supp. 2d 394, 403 (S.D.N.Y. 2009);
      Walden, 571 U.S. at 284. Accordingly, personal jurisdiction also does not exist over Defendants
      under CPLR § 302(a)(3).
              For all of these reasons, Defendants respectfully request that the Court allow them to file
      a motion to dismiss pursuant to Fed. R. Civ. P. 12(b)(2), for lack of personal jurisdiction, and
      stay discovery in this action pending the Court’s ruling on that motion.
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                                               Respectfully Submitted,

                                               YANKWITT LLP
                                               Counsel for Defendants Air99 LLC and Richard
                                               Gordon


                                            By: /s/ Ross E. Morrison______
                                               Ross E. Morrison, Esq.
                                               Connor A. Hilbie, Esq.


      cc: All counsel of record (via ECF)
